Case No. 1:22-cv-01129-NYW-SKC Document 244-2
                                        236-2 filed 01/11/24
                                                    12/11/23 USDC Colorado pg 1
                                    of 3




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:22-cv-01129

  ERIC COOMER, PhD.,

        Plaintiff

  v.

  MICHAEL J. LINDELL, FRANKSPEECH LLC,
  AND MY PILLOW, INC.,

        Defendants


                                   EXHIBIT 23
Case No. 1:22-cv-01129-NYW-SKC Document 244-2 filed 01/11/24 USDC Colorado pg 2
                                    of 3
Case No. 1:22-cv-01129-NYW-SKC Document 244-2 filed 01/11/24 USDC Colorado pg 3
                                    of 3
